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                    United States District Court
                      District of Massachusetts

                                    )
UNITED STATES OF AMERICA,           )
                                    )
          v.                        )
                                    )     Criminal Action No.
DUSTIN J. DeNUNZIO, ANTHONY         )     14-10284-NMG
GATTINERI and CHARLES A.            )
LIGHTBODY,                          )
                                    )
          Defendants.               )
                                    )


                          MEMORANDUM & ORDER

GORTON, J.

     Defendants Dustin DeNunzio (“DeNunzio”), Anthony Gattineri

(“Gattineri”) and Charles Lightbody (“Lightbody”) allegedly

orchestrated a scheme to conceal Lightbody’s continued financial

interest in a real estate holding company, FBT Everett Realty

LLC (“FBT”), that owned a parcel of undeveloped commercial

property in Everett, Massachusetts (“the Everett Parcel”).             FBT

wanted to sell the Everett Parcel to Wynn Resorts Limited LLC

(“Wynn”) as a prospective casino resort location but purportedly

feared that Lightbody’s criminal past would undercut that

possibility.

     The government contends that defendants set out to hide

Lightbody’s interest from (1) Wynn, which eventually entered

into a contract with FBT to retain the option to purchase the

land in the event it received a casino license from the

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Commonwealth of Massachusetts and (2) the Investigations and

Enforcement Bureau (“IEB”) of the Massachusetts Gaming

Commission (“MGC”) during its 2013 investigation into Wynn’s

casino license application.     In October, 2014, defendants were

indicted by a grand jury with one count of conspiracy to commit

wire fraud, in violation of 18 U.S.C. § 371, and one count of

substantive wire fraud, in violation of 18 U.S.C. § 1343.

     Currently before the Court are two motions filed by

defendants DeNunzio and Gattineri that proffer alternate reasons

to dismiss or strike at least part of the indictment.         For the

reasons that follow, both motions will be denied.

I.   Background

     In November 2011, the Massachusetts legislature passed the

Massachusetts Expanded Gaming Act. See 2011 Mass. Acts c. 194;

M.G.L. c. 23K.    The Act provides for up to three “Category 1”

destination resort casino licenses, one of which encompasses the

geographic area that includes Everett, Massachusetts.         The MGC

was given responsibility for evaluating applicants for the

Category 1 licenses.    To help with that task, the IEB

investigated the suitability of casino license applicants and

all parties in interest.

     After the new casino law was enacted, FBT became interested

in selling the Everett Parcel, which it had purchased for

approximately $8 million in October, 2009, to a casino

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developer.   By the fall of 2012, FBT was involved in

negotiations with Wynn about a potential option contract for the

Everett Parcel.   The government asserts that throughout that

time, Lightbody retained his equity interest in FBT.

     According to the government, in early December, 2012,

defendants realized that they needed to take affirmative steps

to hide Lightbody’s ownership interest in the Everett Parcel.

Purportedly fearing that Lightbody’s criminal history would be

uncovered, defendants allegedly initiated a conspiracy to

conceal Lightbody’s interest.     The government contends defendant

knew that, absent their scheme, Lightbody’s criminal history

would be discovered and that Wynn would either 1) be able to

negotiate with FBT for a substantially lower price for the

Everett Parcel or 2) pass on the Everett Parcel altogether as

its choice for a casino location.       Moreover, defendants were

concerned that revelations of Lightbody’s continued interest in

FBT would result in Wynn being deemed unsuitable as a casino

license holder and unable to win approval from the MGC.

     On December 19, 2012, Wynn entered into an option agreement

with FBT for the Everett Parcel.       Wynn agreed to pay $100,000

per month to retain the right to purchase the Everett Parcel for

$75 million in the event that Wynn was able to obtain the

Category 1 license for the region.



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     According to the Indictment, defendants had allegedly

already arranged to remove Lightbody’s name from FBT ownership

documents and DeNunzio had asked an attorney for FBT to report

to Wynn representatives that Lightbody either no longer had an

interest or was in the process of divesting his interest.          A

Memorandum of Transfer and a Promissory Note purporting to

convey Lightbody’s interest were prepared and dated December 14,

2012, but were not executed at that time.

     Shortly thereafter, on January 14, 2013, Wynn submitted its

application for the license which proposed the Everett Parcel as

the site for the casino. 1

     On January 17, 2013, prior to the execution of the buy-out

documents, Wynn’s general counsel sent an email to DeNunzio

requesting that DeNunzio provide Wynn with the names of FBT’s

present equity owners.    In response, DeNunzio represented that,

as of that date, Lightbody did not retain an “interest” in FBT.

Approximately ten days later, Lightbody and Gattineri executed

the ostensibly fraudulent documents that transferred Lightbody’s

ownership interest in FBT to Gattineri for $1.7 million. 2

     In July, 2013, during its suitability investigation of

Wynn, the IEB interviewed defendants about the ownership of the




1 The application required a $400,000, non-refundable deposit.
2 Moreover, it was not until June, 2014 that Gattineri finally
paid Lightbody in full for his equity stake in FBT.
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Everett Parcel.      The government asserts that, in his first

interview with the IEB on July 9, 2013, DeNunzio lied to

investigators and reported that Lightbody had transferred his

equity interest in the land in the summer of 2012.

     Immediately after his initial interview, DeNunzio allegedly

backdated the buy-out documents to correspond with the answer he

gave the IEB.      On July 10, 2013, DeNunzio had both Lightbody and

Gattineri sign the amended Memorandum of Transfer and Promissory

Note backdated so as to have an effective date in the summer of

2012.    The government contends the backdating was further

intended to conceal defendants’ scheme from investigators and,

thus, ensure that Wynn would be unaware of Lightbody’s history

and ultimately be able to exercise its option to purchase the

Everett Parcel upon winning approval for the casino license.

     According to the government, only after the relevant time

period in which the purported fraud took place did Wynn and the

MGC learn of defendants’ alleged scheme.          Wynn then utilized

that revelation to re-negotiate with FBT a substantially lower

purchase price of $25 million for the Everett Parcel in the

event it won the casino license.          In November, 2014, Wynn was

awarded the casino license by the MGC and purchased the Everett

Parcel.     The closing of that purchase occurred in January, 2015,

and Wynn’s attempt to develop a casino on that property remains

ongoing.

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II.    Motions to Dismiss

       DeNunzio and Gattineri jointly filed two separate motions

to dismiss.    The first motion seeks to dismiss or strike the

indictment, in part, on the grounds that the government cannot

prove a “scheme to defraud” Wynn solely on the basis of

defendants’ alleged misrepresentations to the IEB.           The second

motion seeks to dismiss the indictment in its entirety because

it fails to set forth a “scheme to defraud” Wynn based on

defendants’ alleged misrepresentations to Wynn.          Despite

defendants’ insistence to the contrary, the Court agrees with

the government that the motions are appropriately considered as

one.

       A.   Legal Standard

       The elements constituting the crime of wire fraud under 18

U.S.C. § 1343 include

       (1) a scheme or artifice to defraud using false or
       fraudulent premises; (2) the defendant's knowing or
       willing participation in the scheme or artifice with the
       intent to defraud; and (3) the use of the interstate
       wires in furtherance of the scheme.

United States v. Foley, 783 F.3d 7, 13 (1st Cir. 2015) (citation

omitted).    Moreover, the false or fraudulent statement needs to

be material. Id.

       When considering a motion to dismiss in a criminal case, a

court accepts the factual allegations in the indictment as true.

Boyce Motor Lines v. United States, 342 U.S. 337, 343 n.16

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(1952).   Such a motion is properly directed only to the question

of the validity of the indictment on its face. United States v.

Marbelt, 129 F. Supp. 2d 49, 56 (D. Mass. 2000).        An indictment

is ripe for dismissal if the facts demonstrate that, as a matter

of law, the prosecution will not be able to prove each of the

elements of the charged offense. United States v. Huet, 665 F.3d

588, 596-97 (3d Cir. 2012).

     B.   Application

     The joint motions of DeNunzio and Gattineri propound three

primary arguments for dismissal: 1) the statements made to the

IEB cannot support a prosecution for a scheme to defraud Wynn,

2) the government has failed to allege that defendants intended

to cause financial injury to Wynn and 3) the purportedly

fraudulent statements were not material to Wynn.

          1.    Misrepresentations to the IEB

     First, defendants contend that because the MGC’s regulatory

role was not to protect Wynn or its corporate funds, they cannot

be convicted of defrauding Wynn solely on the basis of

statements they made to the IEB.       In support of their position,

DeNunzio and Gattineri rely on two controlling decisions, the

Supreme Court’s opinion in Cleveland v. United States, 531 U.S.

12 (2000), and the First Circuit Court of Appeals’ opinion in

United States v. Christopher, 142 F.3d 46 (1st Cir. 1998).



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Those decisions, whether viewed individually or as a whole, do

not, however, support defendants’ arguments.

     In Cleveland, the Supreme Court unanimously held that a

state gaming license is not “property” in the hands of the

governmental agency for purposes of the mail fraud statute. 531

U.S. at 26-27.   Accordingly, a scheme to obtain a gaming license

from state regulators by false pretenses cannot support a

conviction for mail fraud. Id. at 15.       Thus, the Cleveland

decision would foreclose a hypothetical prosecution for wire

fraud in which Wynn executives made false representations to the

MGC in order to obtain a casino license.       It does not, however,

follow that defendants cannot be convicted of wire fraud on the

basis of their purportedly false statements to the IEB that were

part of a larger scheme to defraud Wynn out of money.

     Defendants argue further that the Christopher decision

holds that the federal wire fraud statute is implicated only if

the state regulator has some affirmative obligation to protect

the monetary interests of a private party that is the target of

a scheme to defraud that same private party.        Because, here, the

MGC was neither the guardian of Wynn’s bank account nor had any

role in protecting its financial interests, defendants aver that

their statements to the IEB cannot support a conviction for wire

fraud.



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      Defendants have clung to one illustrative example that the

First Circuit provided in its broad rejection of a requirement

that “the party deprived of money ... be the same party who is

actually deceived [by the wire fraud].” Christopher, 142 F.3d at

54.   The Christopher decision is not, however, limited in its

reach to situations where a regulatory body was tasked with

protecting the monetary interests of others.         Instead, the First

Circuit held that the statutory language was “broad enough to

include a wide variety of deceptions intended to deprive another

of money” and was not dependent on a convergence between the

deceived party and the party deprived of money by the fraudulent

scheme. Id.; see also United States v. Seidling, 737 F.3d 1155,

1160-61 & n.2 (7th Cir. 2013); United States v. Gaw, No. 13-cr-

10194-GAO, 2014 WL 2435269, at *2 (D. Mass. May 30, 2014)

(denying motion to dismiss indictment for mail fraud where

defendant allegedly made misrepresentations to state licensing

agency as part of scheme to defraud third party out of money).

      Here, the government has alleged a scheme to defraud that

includes misrepresentations made to both Wynn and the MGC.              At

this stage of the proceedings, those allegations, taken as true,

are sufficient to require the denial of defendants’ motion.

Moreover, if the government fails to establish

misrepresentations made to Wynn, it can still prove wire fraud

against defendants so long as it establishes that defendants

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made materially false representations to the IEB as part of a

scheme to defraud Wynn out of money.      Neither the decision in

Cleveland nor the decision in Christopher holds otherwise.

            2.   Intent to Harm or Financially Injure Wynn

     Next, defendants argue that the government has failed

adequately to plead a scheme to defraud Wynn because it has not

alleged that defendants’ actions intended to harm Wynn or

otherwise cause Wynn financial or economic injury.        According to

defendants, proof of such an intent to harm or injure is a

prerequisite for a conviction for wire fraud and is absent here

because Wynn “got what it bargained for” by virtue of the award

of the casino license and its purchase of the Everett Parcel

from FBT.

     Defendants are mistaken in their assertion that an intent

to harm or financially injure is required for wire fraud.         The

First Circuit has, on multiple occasions, held that in fraud

cases the government must prove merely that the defendant had an

intent to defraud. See, e.g., United States v. Kendrick, 221

F.3d 19, 29 (1st Cir. 2000) (en banc) (holding that, based on

common law understanding of fraud, the intent element for fraud

statutes is an intent to deceive in order to obtain money or

other property and that intent to harm is not required),

abrogated on other grounds by Loughrin v. United States, 134 S.

Ct. 2384 (2014); United States v. Pimentel, 380 F.3d 575, 585

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(1st Cir. 2004) (remarking that “[i]n order to find a scheme to

defraud, the jury simply ha[s] to determine that [defendant] was

attempting to wrong one in his property rights by dishonest

methods or schemes”) (quoting McNally v. United States, 483 U.S.

350, 358 (1987)).

     Other circuits concur that intent to harm is not the same

thing, nor is it required to establish the requisite intent to

defraud for purposes of wire fraud. See, e.g., United States v.

Welch, 327 F.3d 1081, 1104-06 (10th Cir. 2003) (rejecting

argument that intent to cause economic harm or injury is an

element of federal wire fraud statute and holding that “the

required intent is simply an intent to defraud which the

[g]overnment may establish by various means”, including

introducing evidence that would enable a jury to infer that

defendant intended to deprive another of money); see also United

States v. Steffen, 687 F.3d 1104, 1115 (8th Cir. 2012).

Instead, an intent to harm, or evidence of actual harm, is only

one means of establishing the necessary intent to defraud.

Welch, 327 F.3d at 1104-05 (collecting cases); Kendrick, 221

F.3d at 29.

     Here, the indictment alleges a scheme in which defendants

attempted to defraud Wynn of money by making false

representations to Wynn and to the IEB.      The government



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specifically alleges that defendants knew the disclosure of

Lightbody’s criminal past

     would adversely impact FBT’s negotiation of an option
     agreement for the Everett Parcel and Wynn’s ability to
     secure a license for a destination resort casino located
     on the Everett Parcel.

The government contends that such allegations impliedly assert

that defendants acted to achieve a more lucrative option

contract with Wynn by withholding pertinent information

regarding Lightbody’s checkered past and, thus, adequately

pleads that defendants had the requisite intent to defraud Wynn

out of money.

     The Court agrees.    The information about Lightbody which,

at this stage of the proceedings, the Court assumes was

unbeknownst to Wynn during the relevant time frame, would have

likely affected the amount of 1) the monthly installment

payments owed by Wynn to retain an option and 2) the purchase

price that FBT was able to negotiate for the Everett Parcel.           As

the government points out, months later, upon discovering that

defendant concealed Lightbody’s criminal history, Wynn did, in

fact, renegotiate the purchase price downward from $75 million

to $25 million.   A jury could find that defendants’ actions in

actively concealing the information from Wynn was intended to

inure to FBT’s benefit at the expense of Wynn. See Pimentel, 380

F.3d at 585 (upholding conviction for mail fraud where jury


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concluded that defendant lied about nature of his company’s

business in order to pay less in insurance premiums).

     The claims in the indictment are thus more than sufficient

to allege both a scheme to defraud Wynn out of money and the

requisite intent to defraud and, accordingly, dismissal of the

indictment against defendants is not warranted.

          3.   Materiality

     Importantly, the false representations that entail the

scheme to defraud must be material. United States v. Appolon,

715 F.3d 363, 367-68 (1st Cir. 2013).      A false statement is

deemed material so long as it “has a natural tendency to

influence, or [is] capable of influencing, the decision of the

decisionmaking body to which it was addressed.” Id. at 368

(quoting Neder v. United States, 527 U.S. 1, 25 (1999))

(alteration in original).    That being said, the government is

not required to prove that the false statement was actually

relied on or necessarily led to monetary damages. Id.

     Defendants contend that the information about Lightbody’s

criminal history that they supposedly concealed could not have

influenced Wynn’s decision to purchase the Everett Parcel and,

therefore, was immaterial.    In support of their position,

defendants point out that Wynn decided to pursue the casino

license even after the indictment in this case became public.

Accordingly, defendants assert that whether or not Lightbody had

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a continued interest in FBT had no bearing on Wynn’s eventual

decision to purchase the Everett Parcel.

     Defendants’ argument misses the mark.        The indictment

alleges that Wynn was a victim of defendants’ scheme to defraud

and was unaware of Lightbody’s criminal history during the

relevant time periods, i.e., leading up to when Wynn decided to

enter into the option agreement in December, 2012, and

thereafter when DeNunzio sent Wynn an email containing the

purportedly false statement.      Because the Court must consider

those allegations as true for purposes of the instant motion to

dismiss, the ultimate determination of the materiality of

defendants’ purported misrepresentations is for the jury to

determine after hearing all of the evidence during trial. 3 See

United States v. Sharp, 749 F.3d 1267, 1280 (10th Cir. 2014)

(materiality is “question of fact for the jury to decide”); see

also Neder, 527 U.S. at 8, 25 (holding that materiality is an

element of crime of wire fraud that ought to be included in jury

instructions).




3 In recent filings, defendants dispute that Wynn was unaware of
Lightbody’s criminal history. Needless to say, if the evidence
at trial unequivocally reveals such knowledge by Wynn,
defendants could not have engaged in a scheme to defraud Wynn
because any attempted misrepresentations by defendants would not
have been material as a matter of law and defendants may opt to
move for a judgment of acquittal.
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     Although defendants argue that, as a matter of law, the

government cannot establish materiality, they are mistaken.

Materiality is determined by analyzing whether a statement was

capable of influencing a decision, not whether it did, in fact,

influence a decision. United States v. Roberts, 534 F.3d 560,

571 (7th Cir. 2008) (noting that “materiality inquiry addresses

the nature of the statements made rather than the defendant’s

actual ability to influence”).      Defendants thus incorrectly make

an argument against materiality that focuses principally on

Wynn’s actual decision to continue to pursue the casino license

after learning of the indictment in this case in October, 2014.

     Even if Wynn’s subsequent conduct was appropriately to be

considered in the materiality analysis, it is entirely possible

that, by the time the indictment issued, Wynn felt constrained

by its prior investment of time and money in the Everett Parcel

to continue with its application. 4     That decision does not

necessarily render immaterial defendants’ alleged

misrepresentation made at the time of Wynn’s initial decision to

enter into the option contract.

     In fact, upon learning of defendants’ concealment of

Lightbody’s criminal history in the summer of 2013, Wynn

insisted on a substantial reduction in the purchase price for


4 Wynn had made multiple $100,000 monthly payments to FBT under
the option contact.
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the Everett Parcel in the event it won the casino license.         Such

a price reduction seems to support the government’s position

that knowledge of Lightbody’s criminal history was capable of

influencing Wynn.   Nevertheless, as the Court has already found,

the critical determination of materiality will need to be made

by the jury.

     Accordingly, because defendants’ have failed to establish

that their alleged concealment of Lightbody’s criminal history

was immaterial as a matter of law, the Court will not dismiss

the indictment.



                                 ORDER

     In accordance with the foregoing, both the motion to

dismiss (or strike) in part (Docket No. 143) and the motion to

dismiss the indictment (Docket No. 145) filed by defendants

DeNunzio and Gattineri are DENIED.

So ordered.


                                     /s/ Nathaniel M. Gorton_____
                                    Nathaniel M. Gorton
                                    United States District Judge
Dated September 9, 2015




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